Exhibit 11
                              CERTIFICATE OF TRANSLATION


I, Bingjie Liu, an attorney licensed in the State of New York (United States) and a court-certified

interpreter of the State Court of the State of New York, am competent to translate from Chinese

into English, and certify that the translation of documents attached to this certificate is true and

accurate to the best of my abilities.




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Bingjie Liu



Date: 6/22/2023
                             Beijing City Haidian District People’s Court
                                           Civil Judgment
                                               (2020) Jing 0108 Min Chu No. 9418


Plaintiff:     NetQin Infinity (Beijing) Technology Co., Ltd., business place at Beijing City
Haidian District, North Three West Road No. 31, Building 23, Floor 1, Room 121.
Legal Representative:           Lilin Guo, Chairman
Litigation Representative:      Hua Zhang, Attorney at Beijing Dingye Law Firm
Litigation Representative:      Fengwu Guo, Attorney at Beijing Dingye Law Firm


Defendant:      Zemin Xu, Male, Date of Birth: February 23, 1964, Mandarin, unemployed,
residing at Beijing City Haidian District, Haidian Main Street No. 15, Building 1, Room 1510.
Litigation Representative:      Li Kang, Attorney at Beijing Zhengxin Law Firm.


The plaintiff Beijing NetQin Tianxia Technology Co., Ltd (hereinafter NetQin Tianxia) and the
defendant Zemin Xu’s dispute in connection with the return of the company license, the case was
filed, according to the law, the Court applied the ordinary procedures openly heard this case.
Plaintiff NetQin Infinity Company’s litigation representatives Hua Zhang, Fengwu Guo,
Defendant’s litigation representative Li Kang appeared before the Court. Now this case is closed.
The plaintiff NetQin Tianxia requests that: 1. Zemin Xu return the official seal, financial seal and
other seals, the company’s bank seals; 2. Zemin Xu refund NeQin Tianxia’s reasonable fees
100,000 RMB for the progress to complete the transmission of the company’s license. 3. the costs
of this case shall be borne by Zemin Xu. Facts and Reasons: NetQin Tianxia was established on
October 21, 2005, as a limited liability company with registered capital of 50 million RMB, and it
engages in internet business. The company now has registered shareholders – 3 individuals,
Lingyun Guo holds 52%, Xu Zhou holds 33.25%, and Wenyong Shi holds 14.75%. NetQin Tianxia
has three directors, one of them is the chairman, elected by the board, the chairman will also be
the company’s legal representative. Zemin Xu was NetQin Tianxia’s previous chairman, legal
representative, and also take a position as manager. Zemin Xue was the person who legally holds
and manages the company’s licenses. These licenses including NetQin Tianxia’s business license
and its duplicated copy, company’s official seal, financial seal, and bank seals. On July 22, 2019,
NetQin Tianxia held its shareholders meeting, re-elected Lilin Guo, Lingyun Guo, and Yuesheng
Zhou to become NetQin Tianxia’s new broad of directors. On the same day, the newly elected
board appointed the new chairman, Lilin Guo (the legal representative) and appointed Lilin Guo
as the company’s manager. Above-mentioned shareholder resolutions, board of directors
resolutions, and re-election of the board of directors, according to the Company Law’s rules,
should be bound on NetQin Tiaxia on the date they were made. On July 26, 2019, Lilin Guo, on
behalf of NetQin Tiaxia and as NetQin Tiaxia’s new legal representative, mailed Zemin Xu a letter
“The Matter In Connection with Changing the Company’s Legal Representative” requesting
Zemin Xu to transmit the company’s business license, company seal, ban seal, and financial
documents, as well as other company’s materials and requesting Zemin Xu to cooperate to change
the company’s business registration in changing the legal representative. This letter was mailed
(EMS) to Zemine Xu, and sent to him via email, phone message as well. Zemin Xu, to the date
this case was filed, refused to transmit the licenses and change the business registration, which
caused the progress of changing the company’s business registration cannot be proceeded as of
today. NetQin Tiaxia’s company’s seal and business license is the company’s important document,
the financial seal and bank seal are necessary for the company to manage its funds and arrange
payments. Only Zemin Xu provides the newly-elected chairman, legal representative with the
licenses, NetQin Tiaxia can proceed the progress of changing its business registration with
authority and the newly-elected chairman, manager Lilin Guo can in fact to manage NetQin Tiaxia.
Zemin Xu as the old chairman, legal representative, and manager, refused to hand over these
license was a violation of the obligations that required under the Company Law and a violation of
the company’s articles. This is abuse of power of the director and manager. In order to compel
him to hand over these licenses, NetQin Tiaxia has no option but to file this case and pay the fees
for legal service. These costs and expenses were caused by Zemin Xu, Zemin Xu should be
responsible for them. Because Zemin Xu abused his power and refused to hand over the company’s
license had caused NetQin Tiaxia’s other economic damage, NetQin Tiaxia will file claims in other
cases. In order to protect NetQin Tiaxia’s interests, if filed claim to this Court.
The defendant Zemin Xu argued: 1. Zemin Xu was the former legal representative of NetQin
Tiaxia and did not directly hold the company's seal, licenses and other documents during his tenure.
NetQin Tiaxia claiming that according to NetQin Tiaxia’s articles of incorporation and
amendments, Zemin's Xu’s duties as legal representative include: convening shareholders'
meetings; checking the implementation of shareholders' resolutions and report to shareholders;
execution of relevant documents on behalf of the company; and to exercise special ruling and
disposing power over the company’s affairs in case of emergencies such as war or extraordinary
natural disasters, provided that such ruling and disposing of power is in the interest of the company
and return high to shareholders afterwards. Zemin Xu is the chairman of the company and his
specific responsibilities are: convening the shareholders' meeting and reporting to the shareholders'
meeting; implementing the resolutions of the shareholders' meeting; finalizing the company's
business plan and investment plan; formulating the company's annual financial budget plan and
final account plan; formulating the company's profit distribution plan and loss recovery plan;
formulating the company's capital increase or decrease and issuing corporate bonds; to formulate
the plan of merger, demerger, change of corporate form and dissolution of the company; to decide
on the establishment of internal management bodies of the company; to decide on the hiring or
dismissal of the manager of the company and remuneration matters; and to decide on the hiring or
dismissal of the deputy manager and financial officer of the company and their remuneration
matters based on the nomination of the manager. None of the above-mentioned duties involve
being in charge of the company's seals and licenses, which does not indicate that the seals and
documents involved in this action are under the control of Zemin Xu. According to the Seal
Management Policy, it is clear that the seals of group companies and subsidiaries are managed
separately by designated seal management personnel, among which: the official seal, contract seal,
and legal representative's name long are kept by the contract administrator, the special invoice seal
is kept by the tax commissioner of the Finance Department and the financial seal is kept by the
chief financial officer. According to Zemin Xu’s understanding during his employment, the above-
mentioned seal had been kept by Yingli Liu, the manager of fund management of the company's
finance department, and Yingli Liu did not hand over the above-mentioned company sign to Zemin
Xu when she left the company. Regarding the company’s official seal is currently in the hands of
what person, Zemin Xu said do not know. 2. Zemin Xu left the company in September 2018 and
has no knowledge of the use and handover of the seal after his departure. NetQin Group controls
NetQin Infinity through VIE structure, which means NetQin Infinity is a subsidiary of NetQin
Group. On September 11, 2018, Zemin Xu resigned from the position of director and CEO of the
group companies to Wenyong Shi, Chairman of NetQin Group. On September 14, 2018, the
company announced to the public that Zemin Xu had resigned from the position of director and
CEO plant of the company, and Mr. Jia Lian acted as CEO of the company Zemin Xu transmitted
work to Jia Lian and related vice presidents and department heads on the same day, which has been
fully completed. Zemin Xu sent an email to NetQin Group on the same day, pushing NetQin Group
to complete the change of legal representative, directors and other related positions. After Zemin
Xu left the company, he was not involved in NetQin Tianxia’s management and had no knowledge
of the company’s seal. Before he left the company, the company’s seal and licenses were managed
by Yingli Liu and he did not contact Yingli Liu after he left the company. He had no knowledge
about that. The “ Matter In Connection with Changing the Company’s Legal Representative” letter
was issued on July 26, 2019, the time Zemine Xu had left the company and not in charge of
management of the company’s seals and licenses. Also, he could not verify Lilin Guo’s identity
and standing. Zemin Xu did not sign anything after he left his position. Therefore, the document
was directly mailed from Lilin Guo and addressed to NetQin Tianxia company, Zemin Xu will not
receive it. As of date, on the company’s business registration, the company’s legal representative
is Youdi Nie, there is no basis to sue Zemin Xu to return the licenses. Due to Zemin Xu’s
resignation, on December 26, 2019, NetQin Tianxia’s changed its legal representative and replaced
Zemin Xu from the legal representative position. Zemin Xu has no relationship with NQ Tianxia.
Even if NetQin Tianxia’s claim based on Zemin Xu was the company’s legal representative, and
even assuming Zemin Xu had control over the company’s seals. However, not only the business
registration but also the shareholder resolutions, Zemin Xue was no longer NetQin Tianxia’s legal
representative. Therefore, there is no basis to claim Zemin Xu to return seals. Also, all pleadings
in this action contain no NetQin Tianxia’s official seal, only contain Lilin Guo’s signature. It is
invalid, and therefore his agent identity is unacceptable. Accordingly, the party bears the burden
of proof to establish its claims. If a party fails to provide evidence or the evidence is insufficient
to prove the implementation of its claim before a judgment is rendered, the party with the burden
of proof shall bear the adverse consequences. Zemin Xu does not hold NetQin Tianxia’s official
seal, NetQin Tianxia’s claims shall be rejected.
In accordance with the law, the parties submitted evidence around the claims. The Court organized
the parties to exchange and examine the evidence. The evidence that the parties do not object to,
the Court confirmed and recorded on the file. According to the parties' statements and the evidence
examined and confirmed by the Court, the Court finds the facts as follows:
The business registration of the corporate entity shows: NetQin Tianxia was founded on October
21, 2007, is a limited liability company and the legal representative is Youdi Nie. Zemin Xu was
registered as NetQin Tianxia’s legal representative on November 18, 2015. Later, On July 22,
2019, NetQin Tianxia adopted board of directors resolution elected Lilin Guo as chairman, legal
representative, and company manager. After investigation, NetQin Tianxia’s articles of association
did not address the management of the company’s seals and licenses.
In the lawsuit, Zemin Xu provided the court with a seal management policy. According to the seal
management policy, the group companies and its subsidiaries’ seals are managed by designated
individuals. That said, the company’s official seal, contract seal are managed by the contract
administrator, legal representative seal, invoice seal are managed by the financial department. The
financial seal is managed by chief financial officer. NetQin Tianxia argued the authentication of
the evidence and request Zemin Xu to be responsible for management obligation and return
obligation.
In the litigation, in order to prove that Zemin Xu holds a company license, NetQin Tianxia
submitted civil judgment No. (2019) 01 Min Final 10118 rendered by the Beijing No. 1
Intermediate Court in a dispute related to the company sued by Xu Zemin regarding the change of
business registration of the legal representative of NetQin Infinity; The Administrative Judgment
No. (2020) Jing 01 Xing Zhong 425 made by No.1 Intermediate Court on the administrative
litigation brought by Zemin Xu against the administrative change of registration and the
Administrative Judgment No. (2019) Jing 0108Xing Chu No. 812 made by this Court on the
aforesaid administrative case. The factual finding section of Civil Judgment No. 10118 contains
the following content: " Zemin Xu submitted to the Court a factual statement dated April 12, 2019
and a notice of filing from the Labor Dispute Arbitration Commission, and a number of notices of
appearance, claiming that NetQin Infinity and Lilin Guo falsely claimed that NetQin Infinity 's
seal and license were lost during the process of industrial and commercial registration, but in fact
the seal and license were not.” In Case Nos. 812 and 425, Zemin Xu submitted a statement of
circumstances, a summons and a notice of arbitration to prove that the official seal and business
license of NetQin Infinity had never been lost and had always been legally held by Zemin Xu, and
that the Beijing Haidian Bureau of Industry and Commerce had failed in its duty to examine them,
which was a violation of the statutory procedures. NetQin Tianxia submitted this statement of
circumstances. After investigation, the aforementioned evidence in the statement of circumstances
does not contain any content about Zemin Xu’s possession of NetQin Tianxia’s official seal and
business license.
In the lawsuit, Zemin Xu claimed that he was responsible for the daily operation and management
of the company at NetQin Infinity, but the company's official seal and documents were managed
by a dedicated person according to the seal management policy. The company's finance department
is responsible for keeping the financial seal, and account books, and the company's legal
department is responsible for keeping business licenses, contracts, and company files. The
dedicated person in charge of the specific management of the company's finance department is
Yingli Liu, who was responsible for the company's official seal, financial seal, contract seal, and
legal representative's seal before she left the job. The court by exercising its power notified Yingli
Liu to testify in court. Yingli Liu said that NetQin Infinity and Beijing NetQin Tianxia Technology
Co., Ltd. were both companies under NetQin Mobile Group, and she was the manager of the fund
management department of the two companies before she left her position, responsible for the fund
management of the two companies, and the company's official seal, contract seal and legal
representative seal were managed by the fund management department. And there is a
corresponding management policy, the special financial seal is managed by the chief financial
director management, business license is managed by the legal department. The court showed her
the seal management policy submitted by Zemin Xu, and Yingli Liu said that the detailed
companies of NetQin Group are managing the company seal and license according to this policy.
She left the company on December 31, 2019 and handed over the seal to Li Lei in the Chairman’s
Office when she went through the transmission process. NetQin Infinity claimed that Yingli Liu
has a strong relationship with this case and her testimony should not be admitted in its entirety.
In the lawsuit, NetQin Tianxia provide the court with its engagement letter with Beijing Dingye
Law Firm (hereinafter Dingye Firm) in order to support its second cause of action. The
engagement letter dated October 10, 2019 and attached a wire transfer record from Lilin Guo to
Dingye firm in the amount of 200,000 RMB, the notes indicating that the purpose for transaction
was NetQin Infinity legal services. On April 17, 2020, Dingye Firm issued 200,000 RMB invoice
to NetQin Infinity. Zemin Xu disputed with the authentication and legality of the evidence. Zemin
Xu argued that the client is NetQin Infinity not NetQin Tianxia.
The Court believes that the parties should provide evidence to prove their allegations; if the parties
fail to provide evidence or the evidence is insufficient to prove their claims, the party with the
burden of proof shall bear the adverse consequences. In the dispute of the return of company
documents, the plaintiff shall first prove that the holder of the official seal and documents is the
defendant. The second proves that the defendant was in unlawful possession of the seal and
documents. NetQin Tianxia filed this lawsuit to claim that Zemin Xu returned to it the seal, license,
and other company documents, it should first submit evidence to prove that the company seal,
license, and documents are held or controlled by Zemin Xu. In this case, the articles of
incorporation of NetQin Tianxia did not clearly specify the person in charge of management of the
official seal and documents in the case, and although it was agreed that the company's books would
be managed by a dedicated person, no clear provisions were given for specific personnel. The only
relevant evidence submitted by NetQin Tianxia is the content and purpose of the evidence
submitted by Zemin Xu in the other case, which is different legal entities. Accordingly, it can not
confirm the facts NetQin Tianxia pled. Therefore, NetQin Tianxia failed to carry out its burden to
prove the company’s seals and licenses are held be Zemin Xu and should bear the corresponding
adverse legal consequences. Therefore NetQin Tianxia’s claims in this case are not supported by
the Court due to insufficient evidence.
Regarding NetQin Tianxia’s second cause of action. This Court believes that, as discussed above,
this Court will not support its first cause of action, NetQin Tianxia’s claim that the costs and
expenses thar occurred in connection with this action shall be paid by Zemin Xu, therefore, lack
of foundation and without supporting authorities. Also, in supporting its claim, NetQin Tianxia
submitted evidence that was an engagement letter between a non-party NetQin Infinity and Dingye
Firm. The client is NetQin Infinity not NetQin Tianxia, Dingye firm’s invoice also issued to
NetQin Infinity. NetQin Tianxia used this invoice as evidence failed to show the relationship
between the evidence and its claims. Therefore, this Court will not support its claim. The parties’
other arguments or statements will not impact this Court ruling a case based upon verified facts,
this Court will not address all arguments or statements one-by-one.
In summary, the Court, in accordance with the provisions of Article 64 of the Civil Procedure Law
of the People's Republic of China and Article 90 of the Interpretation of the Supreme People's
Court on the Application of the Civil Procedure Law of the People's Republic of China, ruled as
follows:
The plaintiff, NetQin Tianxia’s claims are dismissed in their entirety.
The case acceptance fee of 1150 yuan, which has been paid in advance by the plaintiff NetQin
Infinity, shall be borne by itself.
If you do not accept this judgment, you may appeal to the Beijing No. 1 Intermediate People's
Court within fifteen days from the date of service of the judgment by submitting a notice of appeal
and a copy of the notice of appeal to this Court and paying the appeal case acceptance fee in
accordance with the amount of the appeal request for the part of the judgment. If the appeal fee is
not paid within seven days after the expiration of the appeal period, the appeal will be
automatically withdrawn.


                                              Chief Judge: Bin Han
                                              People's Jurors:       Youcai Lu
                                              People's Jurors:       Mingquan Liang


                                              August 12, 2021
                                              Clerk: Yuting Song
                                              [SEAL]
